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 1 COLIN CABRAL (SBN 296913)
   JAMES ANDERSON (BBO # 693781)
 2 Proskauer Rose LLP
   One International Place
 3 Boston, MA 02110
   ccabral@proskauer.com
 4 jaanderson@proskauer.com
   Telephone: 617-526-9600
 5
 6 ELIZABETH SHRIEVES (DC #1645332)
   Proskauer Rose LLP
 7 1001 Pennsylvania Ave, N.W., Suite 600 South
   Washington, DC 20004
 8 eshrieves@proskauer.com
   Telephone: 202-416-6800
 9
10 SETH H. VICTOR (SBN 329341)
   Proskauer Rose LLP
11 2029 Century Park East, Suite 2400
   Los Angeles, CA 90067
12 svictor@proskauer.com
   Telephone: 310-557-2900
13
14 Attorneys for Plaintiffs
   Globus Medical, Inc. and NuVasive, LLC
15
16                      UNITED STATES DISTRICT COURT
17                   SOUTHERN DISTRICT OF CALIFORNIA
18                             SAN DIEGO DIVISION
19
20 GLOBUS MEDICAL, INC. and                             '25CV1522 LL DDL
                                              Case No. _________________
   NUVASIVE, LLC,
21
                      Plaintiffs,
22                                           COMPLAINT FOR PATENT
       v.                                    INFRINGEMENT
23
   ALPHATEC SPINE, INC.,
24
                      Defendant.             JURY TRIAL DEMANDED
25
26                                           Date: June 12, 2025
27
28



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 1        Plaintiffs Globus Medical, Inc. (“Globus”) and NuVasive, LLC (“NuVasive”)
 2 (collectively “Plaintiffs”) bring this action for infringement of United States Patent Nos.
 3 8,357,184; 9,050,146; 10,660,628; 8,556,979; 8,518,120; 9,039,771; 9,204,974; and
 4 11,890,203 (collectively, the “Asserted Patents”) against Defendant Alphatec Spine,
 5 Inc. (“ATEC”), and alleges as follows:
 6                                      THE PARTIES
 7        1.     Plaintiff Globus Medical, Inc. is a Delaware corporation with its principal
 8 place of business located at 2560 General Armistead Avenue, Audubon, Pennsylvania,
 9 19403.
10        2.     Plaintiff NuVasive, LLC is a Delaware limited liability company with its
11 principal place of business at 7475 Lusk Boulevard, San Diego, California 92121.
12 NuVasive operates as a wholly-owned subsidiary of Plaintiff Globus Medical, Inc.
13        3.     On or about February 29, 2024, NuVasive, Inc. converted from a Delaware
14 corporation to a Delaware limited liability company, and changed its name from
15 NuVasive, Inc. to NuVasive, LLC.
16        4.     On information and belief, Defendant Alphatec Spine, Inc. is a California
17 corporation with its principal place of business at 1950 Camino Vida Roble, Carlsbad,
18 California 92008.
19        5.     On information and belief, Defendant Alphatec Spine, Inc. operates as a
20 wholly-owned subsidiary of Alphatec Holdings, Inc.
21                             JURISDICTION AND VENUE
22        6.     This Complaint arises under the patent laws of the United States, Title 35
23 of the United States Code. This Court has subject matter jurisdiction over this action
24 under 35 U.S.C. § 271 et seq., 28 U.S.C. §§ 1331 and 1338(a).
25        7.     The Court has personal jurisdiction over ATEC because ATEC is a
26 California corporation that transacts substantial business in the State of California,
27 regularly does or solicits business in California, has committed acts in California giving
28 rise to the causes of action alleged in this Complaint, maintains continuous and

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 1 systematic contacts in California, purposefully avails itself of the privileges of doing
 2 business in California, and derives substantial revenue from goods and services
 3 provided to individuals in California. In addition, ATEC is registered to do business in
 4 the State of California and maintains an agent for service of process in California.
 5        8.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1400(b)
 6 because ATEC resides in this District, has committed acts of infringement, and has a
 7 regular and established place of business in this District.
 8                              FACTUAL BACKGROUND
 9        A.     Plaintiffs’ Patented Technologies
10        9.     Plaintiffs are market-leading innovators in spinal fusion technologies.
11 Prior to its acquisition by Globus in September of 2023, NuVasive pioneered the market
12 for minimally invasive spine surgery and interbody fusion procedures. Since the
13 acquisition, Globus has continued to further innovate and develop minimally invasive
14 and interbody fusion techniques.
15        10.    Plaintiffs have invested significant resources in the research and
16 development of their implant and instrument products for Transforaminal Lumbar
17 Interbody Fusion (TLIF) and Lateral Lumbar Interbody Fusion (LLIF) spinal fusion
18 techniques.
19        11.    In a TLIF procedure, the intervertebral disc space is accessed and operated
20 on through a posterolateral approach.
21        12.    In an LLIF procedure, the intervertebral disc space is accessed and
22 operated on from the side of a patient’s body.
23        13.    In an effort to protect its innovations in these areas, Plaintiffs have filed
24 and prosecuted patent applications, including those that later issued as the Asserted
25 Patents.
26        14.    On January 22, 2013, the United States Patent and Trademark Office duly
27 and legally issued U.S. Patent No. 8,357,184 (the “’184 patent”), entitled “Method and
28 Apparatus for Performing Spinal Surgery” to Troy Woolley, Nathan Lovell, Michael

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 1 Serra, and Mark Peterson. A true and correct copy of the ’184 patent is attached hereto
 2 as Exhibit A.
 3         15.    At all relevant times, NuVasive is and has been the owner, by valid
 4 assignment, of all right, title, and interest in and to the ’184 patent.
 5         16.    The ’184 patent is directed to methods for performing surgical spine
 6 procedures, including attaching an interbody fixation system to a patient’s spine.
 7         17.    On June 9, 2015, the United States Patent and Trademark Office duly and
 8 legally issued U.S. Patent No. 9,050,146 (the “’146 patent”), entitled “Method and
 9 Apparatus for Performing Spinal Surgery” to Troy Woolley, Nathan Lovell, Michael
10 Serra, and Mark Peterson. A true and correct copy of the ’146 patent is attached hereto
11 as Exhibit B.
12         18.    At all relevant times, NuVasive is and has been the owner, by valid
13 assignment, of all right, title, and interest in and to the ’146 patent.
14         19.    The ’146 patent is directed to a posterior spinal retractor system for use in
15 a spinal surgical procedure.
16         20.    On May 26, 2020, the United States Patent and Trademark Office duly and
17 legally issued U.S. Patent No. 10,660,628 (the “’628 patent”), entitled “Minimally
18 Disruptive Retractor and Associated Methods for Spinal Surgery” to Casey James
19 O’Connell, James Coleman Lee, and Ali A. Shorooghi. A true and correct copy of the
20 ’628 patent is attached hereto as Exhibit C.
21         21.    At all relevant times, NuVasive is and has been the owner, by valid
22 assignment, of all right, title, and interest in and to the ’628 patent.
23         22.    The ’628 patent is directed to methods for performing surgical spine
24 procedures, including attaching an interbody fixation system to a patient’s spine.
25         23.    On October 15, 2013, the United States Patent and Trademark Office duly
26 and legally issued U.S. Patent No. 8,556,979 (the “’979 patent”), entitled “Expandable
27 Fusion Device and Method of Installation Thereof” to Chad Glerum, Sean Suh, and
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 1 Mark Weiman. A true and correct copy of the ’979 patent is attached hereto as
 2 Exhibit D.
 3         24.    At all relevant times, Globus is and has been the owner, by valid
 4 assignment, of all right, title, and interest in and to the ’979 patent.
 5         25.    The ’979 patent is directed to an expandable fusion device that can be
 6 installed during a surgical spine procedure for spinal stability.
 7         26.    On August 27, 2013, the United States Patent and Trademark Office duly
 8 and legally issued U.S. Patent No. 8,518,120 (the “’120 patent”), entitled “Expandable
 9 Fusion Device and Method of Installation Thereof” to Chad Glerum, Sean Suh, and
10 Mark Weiman. A true and correct copy of the ’120 patent is attached hereto as
11 Exhibit E.
12         27.    At all relevant times, Globus is and has been the owner, by valid
13 assignment, of all right, title, and interest in and to the ’120 patent.
14         28.    The ’120 patent is directed to an expandable fusion device that can be
15 installed during a surgical spine procedure for spinal stability.
16         29.    On May 26, 2015, the United States Patent and Trademark Office duly and
17 legally issued U.S. Patent No. 9,039,771 (the “’771 patent”), entitled “Expandable
18 Fusion Device and Method of Installation Thereof” to Chad Glerum, Sean Suh, and
19 Mark Weiman. A true and correct copy of the ’771 patent is attached hereto as
20 Exhibit F.
21         30.    At all relevant times, Globus is and has been the owner, by valid
22 assignment, of all right, title, and interest in and to the ’771 patent.
23         31.    The ’771 patent is directed to methods of installing an expandable fusion
24 device during a surgical spine procedure for spinal stability.
25         32.    On December 8, 2015, the United States Patent and Trademark Office duly
26 and legally issued U.S. Patent No. 9,204,974 (the “’974 patent”), entitled “Expandable
27 Fusion Device and Method of Installation Thereof” to Chad Glerum, Sean Suh, and
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 1 Mark Weinman. A true and correct copy of the ’974 patent is attached hereto as
 2 Exhibit G.
 3         33.    At all relevant times, Globus is and has been the owner, by valid
 4 assignment, of all right, title, and interest in and to the ’974 patent.
 5         34.    The ’974 patent is directed to an expandable fusion device that can be
 6 installed during a surgical spine procedure for spinal stability.
 7         35.    On February 6, 2024, the United States Patent and Trademark Office duly
 8 and legally issued U.S. Patent No. 11,890,203 (the “’203 patent”), entitled “Expandable
 9 Fusion Device and Method of Installation Thereof” to Chad Glerum, Mark Weiman,
10 Andrew Iott, and Mark Adams. A true and correct copy of the ’203 patent is attached
11 hereto as Exhibit H.
12         36.    At all relevant times, Globus is and has been the owner, by valid
13 assignment, of all right, title, and interest in and to the ’203 patent.
14         37.    The ’203 patent is directed to an expandable fusion device that can be
15 installed during a surgical spine procedure for spinal stability.
16         B.     NuVasive’s MAS TLIF Products
17         38.    NuVasive invented systems and methods for performing TLIF procedures,
18 including as part of a spinal fusion procedure known as Maximum Access Surgery
19 Transforaminal Lumbar Interbody Fusion (“MAS TLIF”).
20         39.    Plaintiffs sell implants and instruments to practice MAS TLIF surgeries.
21 NuVasive’s MAS TLIF systems includes a retractor as well as various bone anchor
22 fixation systems (Percept Modular, SpheRx DBR III Modular, among others) and
23 interbody implants (Coroent TLIF, Modulus TLIF, and Cohere TLIF families of
24 implants). MAS TLIF is designed to provide the benefits of minimally invasive
25 procedures while ameliorating many of the associated challenges for the surgeon.
26         40.    At a high level, MAS TLIF uses a retractor with blades that anchor to the
27 patient’s vertebrae and can distract the intervertebral disc space. The anchored retractor
28 blades help keep the operative corridor secure during the surgical procedure and act as

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 1 fixed anatomical landmarks for the surgeon. In other words, the operative window at
 2 the surgical target site does not move even if the position of the retractor body or angle
 3 of the retractor blades changed. A further advantage is that the retractor functions not
 4 only as a soft tissue retractor but also may function as a distracter capable of moving
 5 the adjacent vertebrae apart in order to distract the intervertebral disc space in a caudal-
 6 cranial direction. This allows the surgeon to open the intervertebral disc space and place
 7 an implant. These benefits help overcome challenges associated with traditional TLIF
 8 procedures.
 9         41.   After establishing an operative corridor with the retractor, the surgeon then
10 removes at least a portion of the intervertebral disc and inserts an intervertebral implant.
11 Once the implant is in place, the bone anchors are connected with a rod, which help to
12 stabilize the spine while the patient heals.
13         42.   Plaintiffs have expended substantial capital and human resources in
14 developing its innovations and in the commercialization of MAS TLIF.
15         43.   In compliance with 35 U.S.C. § 287(a), Plaintiffs mark their MAS TLIF
16 products with their patents, including the ’184 and ’146 patents. See
17 https://www.globusmedical.com/musculoskeletal-solutions/patents/.
18         C.    ATEC’s Accused Sigma Access System and Inserter Systems
19         44.   ATEC launched its Sigma Access System on or around October 6, 2020.
20 ATEC launched various bone anchor systems, including the SingleStep, Invictus,
21 Invictus MIS Modular, and Arsenal; and ATEC launched various interbody implants
22 including the IdentiTi-PC, IdentiTi-PO, Battalion PC, and Novel Tapered TL.
23         45.   ATEC’s products bear a striking resemblance to NuVasive’s patented
24 MAS TLIF system. The Sigma retractor and ATEC’s bone anchor fixation systems are
25 virtually identical to those developed and sold by NuVasive.
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 1                Plaintiff’s MAS TLIF              ATEC Sigma Access System
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15        D.     Globus’s Expandable Lumbar Fusion Products
16        46.    Globus invented systems and methods for performing LLIF procedures
17 and provides them for use as part of spinal fusion procedures, as well as devices for
18 performing the surgeries. These devices include the CALIBER-L™ Lateral Lumbar
19 Interbody Fusion Spacer. Globus’s expandable spacer products are designed for use
20 during spinal procedures to be inserted and expanded in situ. They are designed to
21 provide the benefits of minimally invasive procedures while ameliorating many of the
22 associated challenges for the surgeon.
23        47.    Globus expended substantial capital and human resources in developing
24 its innovations and in the commercialization of its CALIBER-L™ spacer products.
25        48.    In compliance with 35 U.S.C. § 287(a), Globus marks CALIBER-L™
26 spacer products with its patents, including the ’979, ’120, ’771, ’974, and ’203 patents.
27 See https://www.globusmedical.com/musculoskeletal-solutions/patents/.
28

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 1         E.      ATEC’s Accused Calibrate LTX Systems
 2         49.     ATEC launched its Calibrate™ LTX system on or around October 16,
 3 2023. See https://investors.alphatecspine.com/press-releases/news-
 4 details/2023/ATEC-Advances-Lateral-Surgery-With-Launch-of-Expandable-
 5 Technology/default.aspx.
 6         50.     ATEC’s Calibrate LTX products bear a striking resemblance to the
 7 patented CALIBER-L™ spacer. They are functionally identical to those developed and
 8 sold by Globus.
 9
                 Plaintiff’s CALIBER-L Spacer          ATEC Calibrate LTX product
10
11
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17
           F.      ATEC’s Knowledge of the Asserted Patents
18
           51.     Many current and former employees of ATEC were once employed by
19
     NuVasive and, on information and belief, have knowledge of NuVasive’s intellectual
20
     property and patent portfolio.
21
           52.     Patrick Miles was employed by NuVasive as an executive from 2001
22
     through September of 2017, most recently serving as President and COO from 2015–
23
     16 and rising to Vice Chairman in September of 2016. While at NuVasive, Mr. Miles
24
     was involved with and aware of NuVasive’s product development and patented
25
     technology relating to spinal surgical systems.
26
           53.     On information and belief, Mr. Miles was aware of the research,
27
     development, commercialization, and marketing of NuVasive’s MAS TLIF procedure.
28

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 1         54.   Mr. Miles worked at NuVasive when the ’184 and ’146 patents were filed.
 2         55.   On September 29, 2017, ATEC hired Mr. Miles to serve as its Executive
 3 Chairman. Mr. Miles currently serves as ATEC’s Chief Executive Officer.
 4         56.   Brian Snider was employed at NuVasive from 2008 to 2017, rising to the
 5 level of Business Lead of Thoracolumbar Anterior, which included responsibility for
 6 the anterior column business.
 7         57.   While at NuVasive, Mr. Snider was involved with and aware of
 8 NuVasive’s patented technology relating to spinal surgical systems.
 9         58.   On March 24, 2017, ATEC hired Mr. Snider as Executive Vice President,
10 Strategic Marketing and Product Development.
11         59.   Before launching the Sigma Access system, ATEC hired James Lee and
12 Ali Shorooghi, both of whom previously worked for NuVasive. Both are named
13 inventors on the ’628 patent.
14         60.   On information and belief, ATEC had actual notice of the ’628 patent, for
15 example, through Mr. Lee and Mr. Shorooghi.
16         61.   On information and belief, ATEC has been monitoring and continues to
17 monitor NuVasive’s patent portfolio, including the ’628, ’184, and ’146 patents.
18         62.   On information and belief, ATEC had actual and constructive knowledge
19 of the ’184 patent prior to the filing of this Complaint.
20         63.   On information and belief, ATEC had actual knowledge of the ’184 patent
21 as early as December 12, 2013, as evidenced by ATEC’s submission of an Information
22 Disclosure Statement identifying the published application that would become the ’184
23 patent to the U.S. Patent and Trademark Office, which occurred on December 12, 2013,
24 in connection with the prosecution of ATEC’s U.S. Patent No. 8,906,034.
25         64.   On information and belief, ATEC also had knowledge of the ’184 patent
26 through its employment relationship with Mr. Miles, Mr. Snider, and other former
27 NuVasive employees.
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 1        65.    On information and belief, ATEC had actual and constructive knowledge
 2 of the ’146 patent prior to the filing of this Complaint.
 3        66.    On information and belief, ATEC has been monitoring and continues to
 4 monitor NuVasive’s patent portfolio, including patents such as the ’146 patent.
 5        67.    On information and belief, ATEC had knowledge of the ’146 patent as
 6 early as January 18, 2018, as evidenced by an office action identifying the published
 7 application that would become the ’146 patent as a reference that was considered by the
 8 examiner, which occurred on January 18, 2018, in connection with the prosecution of
 9 ATEC’s U.S. Patent No. 10,028,772.
10        68.    On information and belief, ATEC also gained knowledge of the ’146
11 patent through its employment of Mr. Miles, Mr. Snider, and/or other former NuVasive
12 employees.
13                                 FIRST CAUSE OF ACTION
14                  INFRINGEMENT OF U.S. PATENT NO. 8,357,184
15        69.    Plaintiffs repeat and reallege the allegations within the foregoing
16 paragraphs in their entirety.
17        70.    ATEC has infringed and continues to infringe at least claim 1 of the ’184
18 patent by making, using, selling, and/or offering for sale products and systems
19 including, but not limited to the Sigma Access System, Single Step fixation system,
20 Invictus fixation system, Invictus MIS Modular fixation system, and Arsenal fixation
21 system (the “Accused Retractor Products”), which are used by spinal surgeons in an
22 infringing manner.
23        71.    Claim 1 of the ’184 patent recites:
24
                 A method for attaching a fixation system to the spine of a patient, the
25               fixation system including at least two bone anchors and a spinal rod linking
                 the at least two bone anchors, comprising the steps of:
26
                     connecting a first bone anchor to a first retractor blade, advancing the
27               first bone anchor and first retractor blade together to a first spinal vertebra,
                 and anchoring the first bone anchor through a pedicle of the first spinal
28               vertebra;

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 1                    connecting a second bone anchor to a second retractor blade, advancing
                  the second bone anchor and second retractor blade together to a second
 2                spinal vertebra, and anchoring the second bone anchor through a pedicle
                  of the second vertebra, wherein the second vertebra is separated from the
 3                first vertebra by an intervertebral disc space and the first vertebra, second
                  vertebra, and intervertebral disc space comprise a first spinal level;
 4
                      connecting a retractor body to the first retractor blade and the second
 5                retractor blade and operating the retractor body to expand an operative
                  corridor formed between the first retractor blade and second retractor blade
 6                from the skin level of the patient to the spine;
 7                    adjusting the angle of the operative corridor until the operative corridor
                  is parallel to the intervertebral disc; and
 8
                     linking the first bone anchor and the second bone anchor with the spinal
 9                rod.
10
           72.    An exemplary claim chart showing how the exemplary accused Sigma and
11
     Invictus systems are used to perform every step of asserted claim 1 of the ’184 patent
12
     is attached as Exhibit I.
13
           73.    In violation of 35 U.S.C. § 271(b), ATEC has and continues to induce
14
     infringement of at least claim 1 of the ’184 patent.
15
           74.    As explained above, on information and belief, ATEC had actual
16
     knowledge of the ’184 patent prior to the filing of this Complaint. Additionally, by
17
     virtue of the filing of this Complaint, ATEC has actual knowledge of the ’184 patent
18
     and knowledge that it is infringing the ’184 patent and is, therefore, liable for future
19
     indirect infringement.
20
           75.    With knowledge of the ’184 patent, ATEC has and continues to induce
21
     infringement of claim 1 of the ’184 patent by others, including surgeons, by actively
22
     encouraging them to use the Accused Retractor Products in an infringing manner, with
23
     the specific intent to induce such actions knowing, or being willfully blind to the fact,
24
     that the induced actions constitute infringement of the ’184 patent.
25
           76.    On information and belief, ATEC had and continues to have specific intent
26
     to induce surgeons to use the Accused Retractor Products, knowing, or being willfully
27
     blind to, the fact that the induced actions constitute infringement of the ’184 patent.
28

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 1         77.   ATEC has and continues to actively encourage others, including surgeons,
 2 to directly infringe the ’184 patent.
 3         78.   ATEC’s affirmative acts of active inducement include, among other
 4 things: (1) publishing surgical techniques, conducting organized surgical training
 5 courses, and engaging in other marketing activities, to promote the Accused Retractor
 6 Products; (2) teaching, instructing, and training surgeons how to use the Accused
 7 Retractor Products; and (3) supplying one or more components of the Accused
 8 Retractor Products.
 9         79.   On information and belief, following ATEC’s active encouragement,
10 surgeons have used and continue to use the Accused Retractor Products in performing
11 surgical spine procedures and thus have directly infringed and continue to directly
12 infringe the asserted claims.
13         80.   On information and belief, ATEC purposefully designed each of the
14 infringing components of the Accused Retractor Products as part of the Accused
15 Retractor Products for use in performing the infringing surgical spine procedure and for
16 no other purpose.
17         81.   In violation of 35 U.S.C. § 271(f)(1), on information and belief, ATEC has
18 been and continues to supply or cause to be supplied in or from the United States all or
19 a substantial portion of the components of the Accused Retractor Products where such
20 components are uncombined in whole or in part, in such a manner to actively induce
21 the combination of such components outside of the United States in a manner that
22 practices at least claim 1 of the ’184 patent.
23         82.   ATEC’s affirmative acts of active inducement abroad include, among
24 other things: (1) publishing surgical techniques, conducting organized surgical training
25 courses, and engaging in other marketing activities, to promote the Accused Retractor
26 Products; (2) teaching, instructing, and training surgeons how to use the Accused
27 Retractor Products; and (3) supplying one or more components of the Accused
28

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 1 Retractor Products, in all instances to induce the combination of the components in an
 2 infringing manner abroad.
 3         83.   Unless enjoined by this Court, ATEC will continue to infringe the ’184
 4 patent, and NuVasive will continue to suffer irreparable harm for which there is no
 5 adequate remedy at law.
 6         84.   As a result of ATEC’s infringement of one or more claims of the ’184
 7 patent, NuVasive has been and continue to be injured in their business and property
 8 rights and are entitled to recover damages for such injuries pursuant to 35 U.S.C. § 284
 9 in an amount to be determined at trial.
10         85.   On information and belief, at all times that infringement has occurred or
11 will occur, ATEC had and has actual and/or constructive knowledge of the ’184 patent.
12         86.   On information and belief, ATEC’s infringement of one or more claims of
13 the ’184 patent is and has been willful and deliberate.
14         87.   NuVasive is entitled to damages pursuant to 35 U.S.C. § 284 and to an
15 award of attorneys’ fees incurred in prosecuting this action pursuant to 35 U.S.C. § 285.
16                              SECOND CAUSE OF ACTION
17                   INFRINGEMENT OF U.S. PATENT NO. 9,050,146
18         88.   Plaintiffs repeat and reallege the allegations of the foregoing paragraphs in
19 their entirety.
20         89.   On information and belief, ATEC has infringed and continues to infringe
21 at least claim 1 of the ’146 patent by making, using, selling, and/or offering for sale the
22 Accused Retractor Products.
23         90.   Claim 1 of the ’146 patent recites:
24         A posterior spinal retractor for a maintaining an access corridor to a site along
           the posterior spinal column on which a surgical procedure is performed, the
25         surgical procedure including the use of first and second bone anchors anchorable
           into first pedicle of a first vertebra and a second pedicle of a second vertebra,
26         respectively, comprising:
27            a retractor having a first arm, a first retractor blade attachable to the first arm
           and having a distal end and a proximal end, a second arm, and a second retractor
28         blade attachable to the second arm and having a distal end and a proximal end,

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          the first arm and the second arm being movable relative to each other in a first
 1        direction;
 2            wherein the distal end of the first retractor blade is temporarily anchorable in
          position relative to the first pedicle via coupled engagement with the first bone
 3        anchor, the coupled engagement permitting angular adjustability of the distal end
          relative to the first bone anchor and the proximal end of the first retractor blade
 4        is pivotable relative to the first arm, and wherein the distal end of the second
          retractor blade is temporarily anchorable in position relative to the second pedicle
 5        via coupled engagement with the second bone anchor, the coupled engagement
          permitting angular adjustability of the distal end relative to the second bone
 6        anchor and the proximal end of the second retractor blade is pivotable relative to
          the second arm; and
 7
              a third retractor blade moveable relative to the first and second retractor blades
 8        in a second direction orthogonal to the first direction.
 9        91.    In violation of 35 U.S.C. § 271(a), ATEC has and continues to directly
10 infringe one or more claims of the ’146 patent.
11        92.    In particular, and without limitation, ATEC directly infringes the ’146
12 patent by making, using, selling, offering for sale, and/or importing into the United
13 States products and systems including, but not limited to the Sigma Access System,
14 Single Step fixation system, Invictus fixation system, Invictus MIS Modular fixation
15 system, and Arsenal fixation system, without authorization.
16        93.    An exemplary claim chart showing how the accused Sigma and Invictus
17 products meet every element of claim 1 of the ’146 patent is attached as Exhibit J.
18        94.    In violation of 35 U.S.C. § 271(b), ATEC has and continues to induce
19 infringement of at least the asserted claims of the ’146 patent.
20        95.    As explained above, on information and belief ATEC had actual
21 knowledge of the ’146 patent prior to the filing of this Complaint. Additionally, by
22 virtue of the filing of this Complaint, ATEC has actual knowledge of the ’146 patent
23 and knowledge that it is infringing the ’146 patent and is, therefore, liable for future
24 indirect infringement.
25        96.    With knowledge of the ’146 patent, ATEC has and continues to induce
26 jointly and separately the direct infringement of the ’146 patent by others, including
27 surgeons, by actively encouraging them to use the Accused Retractor Products in an
28 infringing manner, with the specific intent to induce such actions knowing, or being

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 1 willfully blind to the fact, that the induced actions constitute infringement of the
 2 asserted claims of the ’146 patent.
 3         97.   On information and belief, ATEC had and continues to have specific intent
 4 to induce surgeons to use the Accused Retractor Products, knowing, or being willfully
 5 blind to the fact, that the induced actions constitute infringement of the ’146 patent.
 6         98.   ATEC has and continues to actively encourage others, including surgeons,
 7 to directly infringe the ’146 patent.
 8         99.   ATEC’s affirmative acts of active encouragement include, among other
 9 things: (1) publishing surgical techniques, conducting organized surgical training
10 courses, and engaging in other marketing activities, to promote the Accused Retractor
11 Products which includes the; (2) teaching, instructing, and training surgeons how to use
12 the Accused Retractor Products; and (3) supplying one or more components of the
13 Accused Retractor Products.
14         100. On information and belief, following ATEC’s active encouragement,
15 surgeons have used and continue to use the Accused Retractor Products in performing
16 surgical spine procedures and thus have directly infringed and continue to directly
17 infringe the ’146 patent.
18         101. In violation of 35 U.S.C. § 271(f)(1), on information and belief, ATEC has
19 been and continues to supply or cause to be supplied in or from the United States all or
20 a substantial portion of the components of the Accused Retractor Products where such
21 components are uncombined in whole or in part, in such a manner to actively induce
22 the combination of such components outside of the United States in a manner that
23 practices at least claim 1 of the ’146 patent.
24         102. ATEC’s affirmative acts of active encouragement abroad include, among
25 other things: (1) publishing surgical techniques, conducting organized surgical training
26 courses, and engaging in other marketing activities, to promote the Accused Retractor
27 Products which includes the; (2) teaching, instructing, and training surgeons how to use
28 the Accused Retractor Products; and (3) supplying one or more components of the

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 1 Accused Retractor Products, in all instances to induce the combination of the
 2 components in an infringing manner abroad.
 3         103. ATEC is, thus, liable for infringement of the ’146 patent pursuant to 35
 4 U.S.C. § 271(f)(1).
 5         104. Unless enjoined by this Court, ATEC will continue to infringe the asserted
 6 claims of the ’146 patent, and NuVasive will continue to suffer irreparable harm for
 7 which there is no adequate remedy at law.
 8         105. As a result of ATEC’s infringement of one or more claims of the ’146
 9 patent, NuVasive has been and will continue to be injured in its business and property
10 rights and is entitled to recover damages for such injuries pursuant to 35 U.S.C. § 284
11 in an amount to be determined at trial.
12         106. On information and belief, at all times that infringement has occurred or
13 will occur, ATEC had and has actual and/or constructive knowledge of the ’146 patent.
14         107. On information and belief, ATEC’s infringement of one or more claims of
15 the ’146 patent is and has been willful and deliberate.
16         108. NuVasive is entitled to damages pursuant to 35 U.S.C. § 284 and to an
17 award of attorneys’ fees incurred in prosecuting this action pursuant to 35 U.S.C. § 285.
18                              THIRD CAUSE OF ACTION
19                   INFRINGEMENT OF U.S. PATENT NO. 10,660,628
20         109. Plaintiffs repeat and reallege the allegations of the foregoing paragraphs in
21 their entirety.
22         110. On information and belief, ATEC has infringed and continues to infringe
23 at least claim 1 of the ’628 patent by making, using, selling, and/or offering for sale the
24 Accused Retractor Products, which are used by surgeons in an infringing manner.
25         111. Claim 1 of the ’628 patent recites:
26         A method for attaching a fixation system to the spine of a patient, the fixation
           system including at least two bone anchors and a spinal rod linking the at least
27         two bone anchors, comprising the steps of:
28

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              connecting a first bone anchor to a first retractor blade, advancing the first
 1         bone anchor and first retractor blade together to a first spinal vertebra, and
           anchoring the first bone anchor through a pedicle of the first spinal vertebra;
 2
               connecting a second bone anchor to a second retractor blade, advancing the
 3         second bone anchor and second retractor blade together to a second spinal
           vertebra, and anchoring the second bone anchor through a pedicle of the second
 4         vertebra, wherein the second vertebra is separated from the first vertebra by an
           intervertebral disc space and the first vertebra, second vertebra, and intervertebral
 5         disc space comprise a first spinal level;
 6             connecting the first retractor blade and the second retractor blade with a
           retractor body, the retractor body being positioned laterally away from the spine
 7         relative to the first and second retractor blades, operating the retractor body to
           expand an operative corridor formed between the first retractor blade and second
 8         retractor blade from the skin level of the patient to the spine;
 9             linking the first bone anchor and the second bone anchor with the spinal rod.
10
           112. A claim chart showing how the accused Sigma and Invictus products are
11
     used to perform every step of asserted claim 1 of the ’628 patent is attached as
12
     Exhibit K.
13
           113. In violation of 35 U.S.C. § 271(b), ATEC has and continues to induce
14
     infringement of at least claim 1 of the ’628 patent.
15
           114. As explained above, on information and belief ATEC had actual
16
     knowledge of the ’628 patent prior to the filing of this Complaint. Additionally, by
17
     virtue of the filing of this Complaint, ATEC has actual knowledge of the ’628 patent
18
     and knowledge that it is infringing the ’628 patent and is, therefore, liable for future
19
     indirect infringement.
20
           115. With knowledge of the ’628 patent, ATEC has and continues to induce
21
     infringement of the ’628 patent by others, including surgeons, by actively encouraging
22
     them to use the Accused Retractor Products in an infringing manner, with the specific
23
     intent to induce such actions knowing, or being willfully blind to the fact, that the
24
     induced actions constitute infringement of the ’628 patent.
25
           116. On information and belief, ATEC had and continues to have specific intent
26
     to induce surgeons to use the Accused Retractor Products, knowing, or being willfully
27
     blind to the fact, that the induced actions constitute infringement of the ’628 patent.
28

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 1        117. ATEC has and continues to actively encourage others, including surgeons,
 2 to directly infringe the ’628 patent.
 3        118. ATEC’s affirmative acts of active inducement include, among other
 4 things: (1) publishing surgical techniques, conducting organized surgical training
 5 courses, and engaging in other marketing activities, to promote the Accused Retractor
 6 Products; (2) teaching, instructing, and training surgeons how to use the Accused
 7 Retractor Products; and (3) supplying one or more components of the Accused
 8 Retractor Products.
 9        119. On information and belief, following ATEC’s active encouragement,
10 surgeons have used and continue to use the Accused Retractor Products in performing
11 surgical spine procedures and thus have directly infringed and continue to directly
12 infringe the ’628 patent.
13        120. On information and belief, ATEC purposefully designed each of the
14 infringing components of the Accused Retractor Products as part of the Accused
15 Retractor Products for use in performing the infringing surgical spine procedure and for
16 no other purpose.
17        121. In violation of 35 U.S.C. § 271(f)(1), on information and belief, ATEC has
18 been and continues to supply or cause to be supplied in or from the United States all or
19 a substantial portion of the components of the Accused Retractor Products where such
20 components are uncombined in whole or in part, in such a manner to actively induce
21 the combination and use of such components outside of the United States in a manner
22 that practices claim 1 of the ’628 patent.
23        122. ATEC’s affirmative acts of active inducement abroad include, among
24 other things: (1) publishing surgical techniques, conducting organized surgical training
25 courses, and engaging in other marketing activities, to promote the Accused Products;
26 (2) teaching, instructing, and training surgeons how to use the Accused Products; and
27 (3) supplying one or more components of the Accused Products, in all instances to
28 induce the combination of the components in an infringing manner abroad.

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 1        123. Unless enjoined by this Court, ATEC will continue to infringe the ’628
 2 patent, and NuVasive will continue to suffer irreparable harm for which there is no
 3 adequate remedy at law.
 4        124. As a result of ATEC’s infringement of one or more claims of the ’628
 5 patent, NuVasive has been and continue to be injured in its business and property rights
 6 and is entitled to recover damages for such injuries pursuant to 35 U.S.C. § 284 in an
 7 amount to be determined at trial.
 8        125. On information and belief, at all times that infringement has occurred or
 9 will occur, ATEC had and has actual and/or constructive knowledge of the ’628 patent.
10        126. On information and belief, ATEC’s infringement of one or more claims of
11 the ’628 patent is and has been willful and deliberate.
12        127. NuVasive is entitled to damages pursuant to 35 U.S.C. § 284 and to an
13 award of attorneys’ fees incurred in prosecuting this action pursuant to 35 U.S.C. § 285.
14                            FOURTH CAUSE OF ACTION
15                   INFRINGEMENT OF U.S. PATENT NO. 8,556,979
16        128. Plaintiffs repeat and reallege the allegations of the foregoing paragraphs in
17 their entirety.
18        129. On information and belief, ATEC has infringed and continues to infringe
19 at least claim 1 of the ’979 patent by making, using, selling, and/or offering for sale
20 products and systems including, but not limited to the Calibrate™ LTX (the “Accused
21 Spacer Products”).
22        130. Claim 1 of the ’979 patent recites:
23        An intervertebral implant comprising:
24        a first endplate having an upper side and a lower side, the upper side of the first
          endplate including a textured surface;
25        a second endplate having an upper side and a lower side, the lower side of the
          second endplate including a textured surface;
26
          a body portion having a first end, a second end, a first side portion connecting
27        the first end and the second end, and a second side portion connecting the first
          end and the second end;
28

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          a translation member received between the first endplate and the second endplate,
 1
          the translation member including at least two first angled surfaces of which at
 2        least one of the two first angled surfaces is configured to engage a contact surface
          of the first endplate,
 3
          and at least two second angled surfaces of which at least one of the two second
 4        angled surfaces is configured to engage a contact surface of the second endplate,
 5        wherein the at least two first angled surfaces are separated via a bridge that
          extends along a longitudinal length of the translation member,
 6
          wherein movement of the translation member causes at least one of the two first
 7        angled surfaces to push against the contact surface of the first endplate and at
          least one of the two second angled surfaces to push against the contact surface of
 8        the second endplate, thereby causing outward expansion of the first endplate and
          second endplate,
 9
          wherein the at least two first angled surfaces are sloped generally in a same
10        direction.
11        131. In violation of 35 U.S.C. § 271(a), ATEC has and continues to directly
12 infringe one or more claims of the ’979 patent.
13        132. In particular, and without limitation, ATEC directly infringes the ’979
14 patent by making, using, selling, offering for sale, and/or importing into the United
15 States the Accused Spacer Products, without authorization.
16        133. An exemplary claim chart showing how the accused Calibrate™ LTX
17 product meets every element of claim 1 of the ’979 patent is attached as Exhibit L.
18        134. In violation of 35 U.S.C. § 271(b), ATEC has and continues to induce
19 infringement of at least claim 1 of the ’979 patent.
20        135. By virtue of the filing of this Complaint, ATEC has actual knowledge of
21 the ’979 patent and knowledge that it is infringing the ’979 patent and is, therefore,
22 liable for future indirect infringement.
23        136. With knowledge of the ’979 patent, ATEC has and continues to induce
24 jointly and separately the direct infringement of the ’979 patent by others, including
25 surgeons, by actively encouraging them to use the Accused Spacer Products in an
26 infringing manner, with the specific intent to induce such actions knowing, or being
27 willfully blind to the fact, that the induced actions constitute infringement of the ’979
28 patent.

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 1         137. On information and belief, ATEC had and continues to have specific intent
 2 to induce surgeons to use the Accused Spacer Products, knowing, or being willfully
 3 blind to the fact, that the induced actions constitute infringement of the ’979 patent.
 4         138. ATEC has and continues to actively encourage others, including surgeons,
 5 to directly infringe the ’979 patent.
 6         139. ATEC’s affirmative acts of active inducement include, among other
 7 things: (1) publishing surgical techniques, conducting organized surgical training
 8 courses, and engaging in other marketing activities, to promote the Accused Spacer
 9 Products; (2) teaching, instructing, and training surgeons how to use the Accused
10 Spacer Products; and (3) supplying one or more components of the Accused Spacer
11 Products.
12         140. On information and belief, following ATEC’s active encouragement,
13 surgeons have used and continue to use the Accused Spacer Products in performing
14 surgical spine procedures and thus have directly infringed and continue to directly
15 infringe the ’979 patent.
16         141. In violation of 35 U.S.C. § 271(f)(1), on information and belief, ATEC has
17 been and continues to supply or cause to be supplied in or from the United States all or
18 a substantial portion of the components of the Accused Spacer Products where such
19 components are uncombined in whole or in part, in such a manner to actively induce
20 the combination of such components outside of the United States in a manner that
21 practices at least claim 1 of the ’979 patent.
22         142. ATEC is, thus, liable for infringement of the ’979 patent pursuant to 35
23 U.S.C. § 271(f)(1).
24         143. Unless enjoined by this Court, ATEC will continue to infringe the asserted
25 claims of the ’979 patent, and Globus will continue to suffer irreparable harm for which
26 there is no adequate remedy at law.
27         144. As a result of ATEC’s infringement of one or more claims of the ’979
28 patent, Globus has been and will continue to be injured in its business and property

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 1 rights and is entitled to recover damages for such injuries pursuant to 35 U.S.C. § 284
 2 in an amount to be determined at trial.
 3         145. Globus is entitled to damages pursuant to 35 U.S.C. § 284 and to an award
 4 of attorneys’ fees incurred in prosecuting this action pursuant to 35 U.S.C. § 285.
 5                              FIFTH CAUSE OF ACTION
 6                   INFRINGEMENT OF U.S. PATENT NO. 8,518,120
 7         146. Plaintiffs repeat and reallege the allegations of the foregoing paragraphs in
 8 their entirety.
 9         147. On information and belief, ATEC has infringed and continues to infringe
10 at least claim 1 of the ’120 patent by making, using, selling, and/or offering for sale the
11 Accused Spacer Products.
12         148. Claim 1 of the ’120 patent recites:
13         An intervertebral implantation system comprising:
14            a first endplate having an upper side and a lower side;
15            a second endplate having an upper side and a lower side;
16            a body portion having a first end, a second end, a first side portion
           connecting the first end and the second end, and a second side portion
17         connecting the first end and the second end;
18            a translation member received between the first endplate and the second
           endplate,
19
               the translation member including at least two first angled surfaces of which
20         at least one of the two first angled surfaces is configured to engage a contact
           surface of the first endplate
21
              and at least two second angled surfaces of which at least one of the two
22         second angled surfaces is configured to engage a contact surface of the second
           endplate,
23
               wherein movement of the translation member causes at least one of the two
24         first angled surfaces to push against the contact surface of the first endplate and
           at least one of the two second angled surfaces to push against the contact surface
25         of the second endplate, thereby causing outward expansion of the first endplate
           and second endplate,
26
              wherein the at least two first angled surfaces are sloped generally in a same
27         direction.
28

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 1         149. In violation of 35 U.S.C. § 271(a), ATEC has and continues to directly
 2 infringe one or more claims of the ’120 patent.
 3         150. In particular, and without limitation, ATEC directly infringes the ’120
 4 patent by making, using, selling, offering for sale, and/or importing into the United
 5 States products and systems including, but not limited to the Calibrate™ LTX system,
 6 without authorization.
 7         151. An exemplary claim chart showing how the accused Calibrate™ LTX
 8 product meets every element of claim 1 of the ’120 patent is attached as Exhibit M.
 9         152. In violation of 35 U.S.C. § 271(b), ATEC has and continues to induce
10 infringement of at least claim 1 of the ’120 patent.
11         153. By virtue of the filing of this Complaint, ATEC has actual knowledge of
12 the ’120 patent and knowledge that it is infringing the ’120 patent and is, therefore,
13 liable for future indirect infringement.
14         154. With knowledge of the ’120 patent, ATEC has and continues to induce
15 infringement of the ’120 patent by others, including surgeons, by actively encouraging
16 them to use the Accused Spacer Products in an infringing manner, with the specific
17 intent to induce such actions knowing, or being willfully blind to the fact, that the
18 induced actions constitute infringement of the ’120 patent.
19         155. On information and belief, ATEC had and continues to have specific intent
20 to induce surgeons to use the Accused Spacer Products, knowing, or being willfully
21 blind to the fact, that the induced actions constitute infringement of the ’120 patent.
22         156. ATEC has and continues to actively encourage others, including surgeons,
23 to directly infringe the ’120 patent.
24         157. ATEC’s affirmative acts of active inducement include, among other
25 things: (1) publishing surgical techniques, conducting organized surgical training
26 courses, and engaging in other marketing activities, to promote the Accused Spacer
27 Products; (2) teaching, instructing, and training surgeons how to use the Accused
28

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 1 Spacer Products; and (3) supplying one or more components of the Accused Spacer
 2 Products.
 3         158. On information and belief, following ATEC’s active encouragement,
 4 surgeons have used and continue to use the Accused Spacer Products in performing
 5 surgical spine procedures and thus have directly infringed and continue to directly
 6 infringe the ’120 patent.
 7         159. In violation of 35 U.S.C. § 271(f)(1), on information and belief, ATEC has
 8 been and continues to supply or cause to be supplied in or from the United States all or
 9 a substantial portion of the components of the Accused Spacer Products where such
10 components are uncombined in whole or in part, in such a manner to actively induce
11 the combination of such components outside of the United States in a manner that
12 practices at least claim 1 of the ’120 patent.
13         160. ATEC’s affirmative acts of active inducement abroad include, among
14 other things: (1) publishing surgical techniques, conducting organized surgical training
15 courses, and engaging in other marketing activities, to promote the Accused Products;
16 (2) teaching, instructing, and training surgeons how to use the Accused Products; and
17 (3) supplying one or more components of the Accused Products, in all instances to
18 induce the combination of the components in an infringing manner abroad.
19         161. Unless enjoined by this Court, ATEC will continue to infringe the asserted
20 claims of the ’120 patent, and Globus will continue to suffer irreparable harm for which
21 there is no adequate remedy at law.
22         162. As a result of ATEC’s infringement of one or more claims of the ’120
23 patent, Globus has been and will continue to be injured in its business and property
24 rights and is entitled to recover damages for such injuries pursuant to 35 U.S.C. § 284
25 in an amount to be determined at trial.
26         163. Globus is entitled to damages pursuant to 35 U.S.C. § 284 and to an award
27 of attorneys’ fees incurred in prosecuting this action pursuant to 35 U.S.C. § 285.
28

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 1                              SIXTH CAUSE OF ACTION
 2                  INFRINGEMENT OF U.S. PATENT NO. 9,039,771
 3        164. Plaintiffs repeat and reallege the allegations of the foregoing paragraphs
 4 in their entirety.
 5        165. On information and belief, ATEC has infringed and continues to infringe
 6 at least claim 1 of the ’771 patent by making, using, selling, and/or offering for sale the
 7 Accused Spacer Products, which are then used by spinal surgeons in an infringing
 8 manner.
 9        166. Claim 15 of the ’771 patent recites:
10               A surgical method comprising: introducing an expandable device into an
                 intervertebral space in an unexpanded position;
11
                 wherein the device includes a first endplate having at least one ramped
12               surface, a second endplate having at least one ramped surface,
13               and a translation member having first, second and third angled surfaces;
                 and
14
                 moving the translation member such that it pushes against the ramped
15               surface of the first endplate and the ramped surface of the second endplate,
                 thereby causing the expandable device to expand into an expanded
16               position;
17               wherein the first, second, and third angled surfaces contact either one of
                 the first endplate or the second endplate;
18
                 and wherein the first, second, and third angled surfaces are spaced apart in
19               a longitudinal axis and sloped in the same direction.
20        167. An exemplary claim chart showing how the exemplary accused
21 Calibrate™ LTX product are used to perform every step of asserted claim 15 of the
22 ’771 patent is attached as Exhibit N.
23        168. In violation of 35 U.S.C. § 271(b), ATEC has and continues to induce
24 infringement of at least claim 15 of the ’771 patent.
25        169. By virtue of the filing of this Complaint, ATEC has actual knowledge of
26 the ’771 patent and knowledge that it is infringing the ’771 patent and is, therefore,
27 liable for future indirect infringement.
28

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 1        170. With knowledge of the ’771 patent, ATEC has and continues to induce
 2 jointly and separately the direct infringement of claim 15 of the ’771 patent by others,
 3 including surgeons, by actively encouraging them to use the Accused Spacer Products
 4 in an infringing manner, with the specific intent to induce such actions knowing, or
 5 being willfully blind to the fact, that the induced actions constitute infringement of the
 6 ’771 patent.
 7        171. On information and belief, ATEC had and continues to have specific intent
 8 to induce surgeons to use the Accused Spacer Products, knowing, or being willfully
 9 blind to, the fact that the induced actions constitute infringement of the ’771 patent.
10        172. ATEC has and continues to actively encourage others, including surgeons,
11 to directly infringe the ’771 patent.
12        173. ATEC’s affirmative acts of active inducement include, among other
13 things: (1) publishing surgical techniques, conducting organized surgical training
14 courses, and engaging in other marketing activities, to promote the Accused Spacer
15 Products; (2) teaching, instructing, and training surgeons how to use the Accused
16 Spacer Products; and (3) supplying one or more components of the Accused Spacer
17 Products.
18        174. On information and belief, following ATEC’s active encouragement,
19 surgeons have used and continue to use the Accused Spacer Products in performing
20 surgical spine procedures and thus have directly infringed and continue to directly
21 infringe the asserted claims.
22        175. On information and belief, ATEC purposefully designed each of the
23 infringing components of the Accused Spacer Products as part of the Accused Spacer
24 Products for use in performing the infringing surgical spine procedure and for no other
25 purpose.
26        176. In violation of 35 U.S.C. § 271(f)(1), on information and belief, ATEC has
27 been and continues to supply or cause to be supplied in or from the United States all or
28 a substantial portion of the components of the Accused Spacer Products where such

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 1 components are uncombined in whole or in part, in such a manner to actively induce
 2 the combination of such components outside of the United States in a manner that
 3 practices at least claim 15 of the ’771 patent.
 4         177. ATEC’s affirmative acts of active inducement abroad include, among
 5 other things: (1) publishing surgical techniques, conducting organized surgical training
 6 courses, and engaging in other marketing activities, to promote the Accused Products;
 7 (2) teaching, instructing, and training surgeons how to use the Accused Products; and
 8 (3) supplying one or more components of the Accused Products, in all instances to
 9 induce the combination of the components in an infringing manner abroad.
10         178. Unless enjoined by this Court, ATEC will continue to infringe the ’771
11 patent, and Globus will continue to suffer irreparable harm for which there is no
12 adequate remedy at law.
13         179. As a result of ATEC’s infringement of one or more claims of the ’771
14 patent, Globus has been and will continue to be injured in its business and property
15 rights and is entitled to recover damages for such injuries pursuant to 35 U.S.C. § 284
16 in an amount to be determined at trial.
17         180. Globus is entitled to damages pursuant to 35 U.S.C. § 284 and to an award
18 of attorneys’ fees incurred in prosecuting this action pursuant to 35 U.S.C. § 285.
19                            SEVENTH CAUSE OF ACTION
20                  INFRINGEMENT OF U.S. PATENT NO. 9,204,974
21         181. Plaintiffs repeat and reallege the allegations of the foregoing paragraphs
22 in their entirety.
23         182. On information and belief, ATEC has infringed and continues to infringe
24 at least claim 1 of the ’974 patent by making, using, selling, and/or offering for sale
25 products and systems including, but not limited to the Calibrate™ LTX (the “Accused
26 Spacer Products”).
27         183. Claim 1 of the ’974 patent recites:
28         An intervertebral implant comprising:

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 1            a first endplate;
 2            a second endplate;
 3           a translation member received between the first endplate and the second
          endplate,
 4
             the translation member including a first angled surface configured to engage
 5        a contact surface of the first endplate,
 6            two stabilization members extending from the translation member, and
 7            a body having a first side wall portion extending along a longitudinal axis of
          the implant and a second side wall portion extending along a longitudinal axis of
 8        the implant, each side wall portion having a slot, wherein each slot is configured
          to receive a portion of a respective one of said stabilization members,
 9
10           wherein movement of the translation member causes the first angled surface
          to push against the contact surface of the first endplate thereby causing outward
11        expansion of the first endplate and second endplate,
12            wherein the translation member includes an opening for receiving an actuation
          member, the actuation member being configured not to extend beyond the first
13        angled surface of the translation member when the first and second endplates are
          in an unexpanded state.
14
15        184. In violation of 35 U.S.C. § 271(a), ATEC has and continues to directly
16 infringe one or more claims of the ’974 patent.
17        185. In particular, and without limitation, ATEC directly infringes the ’974
18 patent by making, using, selling, offering for sale, and/or importing into the United
19 States the Accused Spacer Products, without authorization.
20        186. An exemplary claim chart showing how the accused Calibrate™ LTX
21 product meets every element of claim 1 of the ’974 patent is attached as Exhibit O.
22        187. In violation of 35 U.S.C. § 271(b), ATEC has and continues to induce
23 infringement of at least claim 1 of the ’974 patent.
24        188. By virtue of the filing of this Complaint, ATEC has actual knowledge of
25 the ’974 patent and knowledge that it is infringing the ’974 patent and is, therefore,
26 liable for future indirect infringement.
27        189. With knowledge of the ’974 patent, ATEC has and continues to induce
28 jointly and separately the direct infringement of the ’974 patent by others, including

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 1 surgeons, by actively encouraging them to use the Accused Spacer Products in an
 2 infringing manner, with the specific intent to induce such actions knowing, or being
 3 willfully blind to the fact, that the induced actions constitute infringement of the ’974
 4 patent.
 5         190. On information and belief, ATEC had and continues to have specific intent
 6 to induce surgeons to use the Accused Spacer Products, knowing, or being willfully
 7 blind to the fact, that the induced actions constitute infringement of the ’974 patent.
 8         191. ATEC has and continues to actively encourage others, including surgeons,
 9 to directly infringe the ’974 patent.
10         192. ATEC’s affirmative acts of active inducement include, among other
11 things: (1) publishing surgical techniques, conducting organized surgical training
12 courses, and engaging in other marketing activities, to promote the Accused Spacer
13 Products; (2) teaching, instructing, and training surgeons how to use the Accused
14 Spacer Products; and (3) supplying one or more components of the Accused Spacer
15 Products.
16         193. On information and belief, following ATEC’s active encouragement,
17 surgeons have used and continue to use the Accused Spacer Products in performing
18 surgical spine procedures and thus have directly infringed and continue to directly
19 infringe the ’974 patent.
20         194. In violation of 35 U.S.C. § 271(f)(1), on information and belief, ATEC has
21 been and continues to supply or cause to be supplied in or from the United States all or
22 a substantial portion of the components of the Accused Spacer Products where such
23 components are uncombined in whole or in part, in such a manner to actively induce
24 the combination of such components outside of the United States in a manner that
25 practices at least claim 1 of the ’974 patent.
26         195. ATEC is, thus, liable for infringement of the ’974 patent pursuant to 35
27 U.S.C. § 271(f)(1).
28

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 1         196. Unless enjoined by this Court, ATEC will continue to infringe the asserted
 2 claims of the ’974 patent, and Globus will continue to suffer irreparable harm for which
 3 there is no adequate remedy at law.
 4         197. As a result of ATEC’s infringement of one or more claims of the ’974
 5 patent, Globus has been and will continue to be injured in its business and property
 6 rights and is entitled to recover damages for such injuries pursuant to 35 U.S.C. § 284
 7 in an amount to be determined at trial.
 8         198. Globus is entitled to damages pursuant to 35 U.S.C. § 284 and to an award
 9 of attorneys’ fees incurred in prosecuting this action pursuant to 35 U.S.C. § 285.
10                             EIGHTH CAUSE OF ACTION
11                 INFRINGEMENT OF U.S. PATENT NO. 11,890,203
12         199. Plaintiffs repeat and reallege the allegations of the foregoing paragraphs
13 in their entirety.
14         200. On information and belief, ATEC has infringed and continues to infringe
15 at least claim 1 of the ’203 patent by making, using, selling, and/or offering for sale
16 products and systems including, but not limited to the Calibrate™ LTX (the “Accused
17 Spacer Products”).
18         201. Claim 1 of the ’203 patent recites:
19         An intervertebral implant configured to be inserted into an intervertebral space,
           comprising:
20
               a body having first and second ends and first and second sides connecting
21         the first and second ends, the first end comprising angled surfaces configured to
           distract adjacent vertebral bodies when the implant is inserted into the
22         intervertebral space;
23            a first endplate disposed on an upper side of the body;
24            a second endplate disposed on a lower side of the body;
25            a translator disposed in the body, having at least two expansion portions
           connected by at least one bridge portion, and coupled to the first endplate such
26         that the at least two expansion portions each engage corresponding surfaces of
           the first endplate and corresponding surfaces of the second endplate,
27
28

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              an actuator screw disposed at least partially in the body and comprising
 1         external threading for rotatably coupling to corresponding internal threading
           formed along the translator,
 2
               rotation of the actuator screw in a first direction causing the translator and the
 3         at least two expansion portions to longitudinally translate which causes the first
           endplate to move from a contracted state to an expanded state,
 4
              wherein in the contracted state, the first endplate relative to the second
 5         endplate is at a first angle, and in the expanded state, the first endplate relative to
           the second endplate is at a second angle greater than the first angle,
 6
              wherein the at least two expansion portions longitudinally translate in the
 7         same direction when the translator longitudinally translates.
 8         202. In violation of 35 U.S.C. § 271(a), ATEC has and continues to directly
 9 infringe one or more claims of the ’203 patent.
10         203. In particular, and without limitation, ATEC directly infringes the ’203
11 patent by making, using, selling, offering for sale, and/or importing into the United
12 States the Accused Spacer Products, without authorization.
13         204. An exemplary claim chart showing how the accused Calibrate™ LTX
14 product meets every element of claim 1 of the ’203 patent is attached as Exhibit P.
15         205. In violation of 35 U.S.C. § 271(b), ATEC has and continues to induce
16 infringement of at least claim 1 of the ’203 patent.
17         206. By virtue of the filing of this Complaint, ATEC has actual knowledge of
18 the ’974 patent and knowledge that it is infringing the ’203 patent and is, therefore,
19 liable for future indirect infringement.
20         207. With knowledge of the ’203 patent, ATEC has and continues to induce
21 jointly and separately the direct infringement of the ’203 patent by others, including
22 surgeons, by actively encouraging them to use the Accused Spacer Products in an
23 infringing manner, with the specific intent to induce such actions knowing, or being
24 willfully blind to the fact, that the induced actions constitute infringement of the ’203
25 patent.
26         208. On information and belief, ATEC had and continues to have specific intent
27 to induce surgeons to use the Accused Spacer Products, knowing, or being willfully
28 blind to the fact, that the induced actions constitute infringement of the ’203 patent.

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 1         209. ATEC has and continues to actively encourage others, including surgeons,
 2 to directly infringe the ’203 patent.
 3         210. ATEC’s affirmative acts of active inducement include, among other
 4 things: (1) publishing surgical techniques, conducting organized surgical training
 5 courses, and engaging in other marketing activities, to promote the Accused Spacer
 6 Products; (2) teaching, instructing, and training surgeons how to use the Accused
 7 Spacer Products; and (3) supplying one or more components of the Accused Spacer
 8 Products.
 9         211. On information and belief, following ATEC’s active encouragement,
10 surgeons have used and continue to use the Accused Spacer Products in performing
11 surgical spine procedures and thus have directly infringed and continue to directly
12 infringe the ’203 patent.
13         212. In violation of 35 U.S.C. § 271(f)(1), on information and belief, ATEC has
14 been and continues to supply or cause to be supplied in or from the United States all or
15 a substantial portion of the components of the Accused Spacer Products where such
16 components are uncombined in whole or in part, in such a manner to actively induce
17 the combination of such components outside of the United States in a manner that
18 practices at least claim 1 of the ’203 patent.
19         213. ATEC is, thus, liable for infringement of the ’203 patent pursuant to 35
20 U.S.C. § 271(f)(1).
21         214. Unless enjoined by this Court, ATEC will continue to infringe the asserted
22 claims of the ’203 patent, and Globus will continue to suffer irreparable harm for which
23 there is no adequate remedy at law.
24         215. As a result of ATEC’s infringement of one or more claims of the ’203
25 patent, Globus has been and will continue to be injured in its business and property
26 rights and is entitled to recover damages for such injuries pursuant to 35 U.S.C. § 284
27 in an amount to be determined at trial.
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 1        216. Globus is entitled to damages pursuant to 35 U.S.C. § 284 and to an award
 2 of attorneys’ fees incurred in prosecuting this action pursuant to 35 U.S.C. § 285.
 3                                PRAYER FOR RELIEF
 4        WHEREFORE, Plaintiffs request entry of judgment in their favor and against
 5 Defendant ATEC as follows:
 6        A.      Declaring that ATEC has infringed one of more claims of each of the
 7 Asserted Patents;
 8        B.      Declaring that ATEC has willfully infringed the ’184, ’146, and ’628
 9 patents;
10        C.      Permanently enjoining ATEC, its officers, partners, employees, agents,
11 parents, subsidiaries, attorneys, and anyone acting in concert or participation with any
12 of them, from further infringing, contributing to and/or inducing the infringement of
13 each of the Asserted Patents, in accordance with 35 U.S.C. § 283;
14        D.      Awarding Plaintiffs damages in an amount adequate to compensate
15 Plaintiffs for ATEC’s infringement, in accordance with 35 U.S.C. § 284;
16        E.      Awarding enhanced damages, in accordance with 35 U.S.C. § 284;
17        F.      Awarding Plaintiffs attorneys’ fees and costs, in accordance with 35
18 U.S.C. § 285; and
19        G.      Granting such other and further relief as this Court may deem just and
20 appropriate.
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 1                             DEMAND FOR JURY TRIAL
 2        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs
 3 demand a trial by jury of this action.
 4
 5   Date: June 12, 2025                    PROSKAUER ROSE LLP
 6
 7                                          /s/ Colin Cabral
                                             COLIN CABRAL (SBN 296913)
 8                                           JAMES ANDERSON (BBO # 693781)
                                             Proskauer Rose LLP
 9                                           One International Place
                                             Boston, MA 02110
10                                           ccabral@proskauer.com
                                             jaanderson@proskauer.com
11                                           Telephone: 617-526-9600
12
                                             ELIZABETH SHRIEVES (DC #1645332)
13                                           Proskauer Rose LLP
                                             1001 Pennsylvania Ave, N.W.
14                                           Suite 600 South
                                             Washington, DC 20004
15                                           eshrieves@proskauer.com
                                             Telephone: 202-416-6800
16
17                                           SETH H. VICTOR (SBN 329341)
                                             Proskauer Rose LLP
18                                           2029 Century Park East, Suite 2400
                                             Los Angeles, CA 90067
19                                           svictor@proskauer.com
                                             Telephone: 310-557-2900
20
21                                           Attorneys for Plaintiffs
                                             Globus Medical, Inc. and NuVasive, LLC
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